           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:07CR106

UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )        ORDER
                                                    )
JAMES OTIS HENDERSON.                               )
__________________________________                  )

        THIS MATTER is before the court on the government’s Motion for Order

Dismissing Petition of Janet Henderson (#178), which the government mis-captioned

in ECF as a “Motion for Forfeiture of Property,” and sub-captioned in ECF as

“Motion for Order on Previously Filed Motion to Dismiss Petition of Janet Leigh

Henderson.” Even though such pleading has been captioned three ways, review of

the substance of pleading #178 does not reveal that the government seeks therein an

Order of forfeiture; rather, such pleading simply advises the district court that the

claimant failed to respond to the previously filed “Motion to Dismiss Petition of

Janet Henderson” (#174).

        The government is respectfully advised that such method of pleading is not

only confusing, it is compounding. When the government seeks to advise the court

of a party’s failure to respond within the time allowed under the Local Criminal




      Case 1:07-cr-00106-TSE-DLH    Document 182        Filed 09/22/09   Page 1 of 2
Rules, such may be done by simply filing a Notice.1 Finally, the district court has

already granted the substantive relief sought by Order dated September 21, 2009.



                                         ORDER

       IT IS, THEREFORE, ORDERED that the government’s Motion for Order

Dismissing Petition of Janet Henderson (#178), which the government mis-captioned

in ECF as a “Motion for Forfeiture of Property,” is DENIED as moot.




                                                 Signed: September 22, 2009




       1
              No notice is, however, required inasmuch as ECF provides dates by which
responses may be filed.

                                             2


    Case 1:07-cr-00106-TSE-DLH         Document 182       Filed 09/22/09    Page 2 of 2
